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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                             [Proposed] Protective Order

         v.                                                                        20 Cr. 688 (PAC)

 Joshua Kimpson,


                 Defendant.



        Upon the application of the United States of America, with the consent of the undersigned

counsel, and the defendant having requested discovery under Fed. R. Crim. P. 16, the Court hereby

finds and orders as follows:

        WHEREAS, the Government will make disclosure to the defendant of documents, objects

and information, pursuant to Federal Rule of Criminal Procedure 16, 18 U.S.C. §3500, and the

Government’s general obligation to produce exculpatory and impeachment material in criminal

cases, all of which will be referred to herein as “disclosure material”;

        WHEREAS, the Government’s disclosure material may include Confidential Information

that would (i) affect the privacy interests of third parties; (ii) expose sensitive personal information;

and (iii) that is not authorized to be disclosed to the public or disclosed beyond that which is

necessary for the defense of this criminal case;

        WHEREAS, the entry of a protective order in this case will permit the Government to

produce expeditiously disclosure material without further litigation or the need for substantial

redactions, and will afford the defense prompt access to such materials, in substantially unredacted

form, which will facilitate the preparation of the defense;
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NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

       1. Confidential Information so designated by the Government shall not be disclosed by the

defendant or defense counsel, including any successor counsel (collectively, “the defense”), other

than as set forth herein, and shall be used by the defense solely for purposes of defending this

action. All Confidential Information possessed by the parties shall be maintained in a safe and

secure manner.

       2. Confidential Information may be disclosed by the defense to:

               (a) The following persons (hereinafter, “Designated Persons”):

                      i. The defendant;

                      i. investigative, paralegal, secretarial, clerical, and other personnel

                      employed or retained by defense counsel;

                      ii. independent expert witnesses, investigators, or advisors retained by

                      defense counsel in connection with this action;

                      iii. Potential witnesses for the purposes of defending this action; and

                      iv. Such other persons as hereafter may be authorized by the Court.

All Designated Persons to whom Confidential Information is disclosed in accordance with this

provision shall be subject to the terms of this Order. To the extent Confidential Information is

disclosed to any Designated Persons, defense counsel shall first provide each Designated Person

with a copy of this Order and instruct such Designated Persons that they are bound by the terms

of this Order. Defense Counsel shall make reasonable efforts to maintain a record of what

Confidential Information has been disclosed to Potential Witnesses pursuant to this Order.


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        3. The Government may designate Disclosure Material as Confidential Information by

labeling such Disclosure Material as “Confidential” or otherwise identifying Disclosure Material

as “Confidential” in correspondence with defense counsel. If there is a dispute as to the

Government’s designation of particular discovery as Confidential, the parties shall meet and confer

without prejudice to a subsequent application by defense counsel seeking de-designation of such

material by the Court. If the defense moves the Court for re-designation of disputed disclosure

material, the Government shall respond within seven days of the defense filing, absent further

Order of this Court. The Government shall bear the burden of establishing good cause for its

designation of the disputed material.

        4. The defense shall provide a copy of this Order to all Designated Persons to whom the

defense has disclosed Confidential Material. All such persons shall be subject to the terms of this

Order. Defense counsel shall maintain a record of what Confidential Material has been disclosed

to which such persons.

        5. The parties must comply with the Local Criminal Rules, including Rule 23.1, which

prohibits “the release of non-public information or opinion which a reasonable person would

expect to be disseminated by means of public communication…if there is a substantial likelihood

that such dissemination will interfere with a fair trial or otherwise prejudice the due administration

of justice.”

        6. The parties shall not post any Confidential Information on any Internet site or network

site to which persons other than the parties hereto have access, and shall not disclose any

Confidential Information to the media or any other third party, except as set forth herein.


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        7. The Government may authorize, in writing, disclosure of disclosure material beyond that

otherwise permitted by this Order without further Order of this Court.

        8. This Order does not prevent the disclosure of any disclosure material in any hearing or

trial held in this action, or to any judge or magistrate judge, for purposes of this action. All filings

should comply with the privacy protection provisions of Fed. R. Crim. P. 49.1.

        9. Except for Confidential Information that has been made part of the record of this case,

the defense shall return to the Government or securely destroy or delete all Confidential

Information within 30 days of the expiration of the period for direct appeal from any verdict in the

above-captioned case; the period of direct appeal from any order dismissing any of the charges in

the above-captioned case; or the granting of any motion made on behalf of the Government

dismissing any charges in the above-captioned case, whichever date is later, subject to defense

counsel’s obligation to retain client files under the Rules of Professional Conduct. If Confidential

Information is provided to any prospective witnesses, counsel shall make reasonable efforts to seek

the return or destruction of such materials.




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                                  Retention of Jurisdiction

       9. The provisions of this Order shall not terminate at the conclusion of this criminal

prosecution and the Court will retain jurisdiction to enforce this Order until the Court orders

otherwise.

AGREED AND CONSENTED TO:

       AUDREY STRAUSS
       Acting United States Attorney


by:    _______/s/___________________               Date: __1/7/2021__________
       Thomas S. Burnett
       Assistant United States Attorney


       _____/s/_______________________             Date: __1/7/2021_________
       Martin Cohen
       Counsel for Joshua Kimpson



SO ORDERED:

Dated: New York, New York
               11 2021
       January __,

                                           _________________________________
                                           THE HONORABLE PAUL A. CROTTY
                                           UNITED STATES DISTRICT JUDGE




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